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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


AARON BRUCE Individually, and as Parent of        )
BREKKIN RILEY BRUCE, Deceased, and                )
TRENTON BEAU BRUCE, Deceased,                     )
                                                  )
                             Plaintiff,           )
                                                  )
                        v.                        )       No. 1:20-cv-02636-JMS-MJD
                                                  )
BARNETS, INC., et al.                             )
                                                  )
                             Defendants.          )




                       MINUTE ENTRY FOR NOVEMBER 19, 2020
                      TELEPHONIC SETTLEMENT CONFERENCE
                    HON. MARK J. DINSMORE, MAGISTRATE JUDGE


       The parties appeared in person and by counsel for a settlement conference. Settlement

was not achieved.



       Dated: 23 NOV 2020




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